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                                        UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

                                                                        www.flsb.uscmnts.gov
                                                            CHAPTER 13 PLAN Ondividual Adjustment of Debts)
                                  ■               Original Plan
                                  □
                                    ------------- Amended Plan (Indicate I st, 2nd, etc. Amended, if applicable)
                                       -------
                                  □                                            Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

    DEBTOR:             fl~ /(tCt,;j;                              JOINT DEBTOR:            6.;d;r ~                     cAsE No.:    :;.J.-/39£3 PPR.
    SS#: xxx-xx-                                                     SS#: xxx-xx-
    1.           NOTICES
                 To Debtors:            Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                        modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                        Rules 2002-1 (C)(5), 3015-1(8)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                        the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:          Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                        be reduced, modified or eliminated .
                              .
                 To All Parties:        The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                        on each line listed below in this section to state whether the plan includes any of the following:
      The valuation of a secured claim, set out in Section III, which may result in a
      partial payment or no payment at all to the secured creditor                                                       □    Included
                                                                                                                                                 □   Not included
      Avoidance of a judicial lien or non possessor,, nonpurchase-money security interest, set
      out in Section III                                                                                                 □    Included
                                                                                                                                                 □   Not included

      Nonstandard provisions, set out in Section IX
                                                                                                                         □    Included
                                                                                                                                                 □   Not included
   II.           PLAN PAYMENTS. LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

                 A.      MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                         I.        2t3Jb-lla for months _J_ to£Q.;
                                  $_

                        2.    . $( 2/JO, (2/) for months _L toJl2;
                                                    I


                        3.             7'£l)Q           formonths_}__to~

                 B. DEBTOR(S)' ATTORNEY'S FEE:                                                   ~ONE      t::fPROBONO
            Total Fees:                    $0.00                Total Paid:                  $0.00          Balance Due:
            Payable _ _ _$_0_.0_0_ _ _ /month (Months                          to
            Allowed fees under LR 2016-1(8)(2) are itemized below:


            Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.         TREATMENT OF SECURED CLAIMS                           O NONE
                 A. SECURED CLAIMS:                     0   NONE
                 [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
             1. Creditor:
                  Address:                                           Arrearage/ Payoff on Petition Date
                                                                     [Select Payment Type]                        ___
                                                                                                                    $0_._00_ _ /month (Months            to

             Last 4 Digits of
             Account No.:
             Other:


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                                                                    Debtor(s):                                              Case number: 21,-/   3qS'3 Pf)}(
       11 Real Property                                                           Check one below for Real Property:
                [)>rincipal Residence                                             □ Escrow is included in the regular payments

                [})ther Real Property                                             0The debtor(s) will pay        Otaxes   Oinsurance directly
        Address of Collateral:



       D Personal PropertyNehicle
        Description of Collateral:

           B. VALUATION OF COLLATERAL:                    0   NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.
                   1. REAL PROPERTY:         0   NONE

         1. Creditor:    {!l/l   0-,o (l.d              Value ofCollateral:f          55<8l,'~'V,{O                           Payment

              Address:   P,O✓ ~ 6J9t1J'                 Amount of Creditor's Lien:                          Total paid in plan:         y.39$60,0i 1
                                                                                                                                           .
                        ~r, 22Jbl· ~I                                                                       1
         Last 4 Digits of Account No.: 3J.6 l           Interest Rate:       -.   -                     '   'J,.3)./;,; O{l)month (Months LtoM?_)
        ~Property                                       Check one below:
          Principal Residence                           Ill Escrow is included in the monthly
                                                          mortgage payment listed in this section
        □ Other Real Property
                                                        D The debtor(s) will pay
         Address of Collateral:
                                                                 Otaxes           Oinsurance directly



                   2. VEHICLES(S):      Ill NONE
         1. Creditor:                                   Value of Collateral:                  $0.00                           Payment

              Address:                                  Amount of Creditor's Lien:            $0.00         Total paid in plan:         $0.00


                                                                            0.00%                                 $0.00     /month (Months        to       )
         Last 4 Digits of Account No.:                  Interest Rate:                                                                       -         -
         VIN:
         Description of Collateral:




        Check one below:
        DCl~i'? incurred 910 days or more pre-
          pet1t10n
          cl~i'? incurred less than 910 days pre-
        0 pet1t1on

                   3. PERSONAL PROPERTY:           0    NONE




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                                                                                                                           Case number:A~   -/J9£ff/)/(
                                                                                                                             Payment

                                                            Amount of Creditor's Lien:                      Total paid in plan: - - - ~,Z=•t)/J.   tJO

                                                            Interest Rate:       0.00%                      ___6_0__lmonth (Months          _J_to 6())




        Check one below:
        □ Claim incurred less than one year pre-
         Jpetition
        ~CI~ir_n incurred I year or more pre-
          pet1t10n

           C. LIEN AVOIDANCE O NONE
              Judicial liens or nonpossessory, nonpurchase money security interests securing the claims will be avoided to the extent that they
              impair the exemptions under 11 U.S.C. § 522 as listed below. A separate motion will also be served pursuant to BR 7004 and LR
              3015-3.
         1. Creditor:                                                              Collateral:
                              ---------------
              Address:
                                                                                   Exemption:
         Last 4 Digits of Account No.:

            D. SURRENDER OF COLLATERAL:                          0   NONE
            Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                D The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor's claim. The debtor(s)
                     request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
                     personam as to any codebtor(s) as to these creditors.

                   D         Other:
                             Name of Creditor             Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)

                        1.
            E. DIRECT PAYMENTS                    O   NONE
            Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Name of Creditor             Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)

                        1.
IV.
                             ----------
            TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                             0   NONE
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS($)' ATTORNEY'S FEE:                                     0   NONE
               I. Name:
                       ---------------------------------------
               Payment Address:

               Total Due:
                          ------------------------------------
                            $0.00
                  Payable
                                - -$0.00
                                    - - -/month (Months               to
                  Payable             $0.00     /month (Months        to

            B. INTERNAL REVENUE SERVICE:                      0      NONE


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                                                                        Debtor(s):                                    Case number:U.-/'39   33/J})j?
                 Total Due:        $                          Total Payment _ _ _ _$-'------
                               ----- -----
                   Payable:            $             /month (Months             to
             C. DOMESTIC SUPPORT OBLIGATION(S):                                         0   CURRENT AND PAID OUTSIDE
              1. Name of Creditor:
              Payment Address:
                                      -----------------------------------
              TotaID ue:
                                     ------------------------------------
                   Payable
                             - -$,- - -/month (Months            to
                 Regular Payemnt (if applicable)         $0.00        /month (Months           to

             D. OTHER:              NONE

               1. Name of Creditor:
              Payment Address:
                              -----------------------------------
                             ------------------------------------
              TotaI Due:
                Payable
                         ----------
                           $    /month (Months to
                             -----
                   Regular Payemnt (if applicable)        $           /month (Months           to
                                                     -----
v.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                      QNONE
              A. Pay               $ _fj;pp /month (Months     _j_     toJi,_   )
                    Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
              B.    0     If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                 0    NONE
                1. Name of Creditor: _f....__.D_'--'/3'-"'M.-...#"'K.__ ________________________

                        Payment Address:   'J,/JQ C11roLi111A        er Pl<wv
                                                                           I
                        Last 4 Digits of Account No.: ~ J   f
                        Basis for Separate Classification
                         Payable       $
                                                          -----------------------------
                                                /month (Months   Lto
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.          STUDENT LOAN PROGRAM                    ~ONE
        A.      FEDERAL - Direct Pay                 QNone
               Name of student who benefitted from the loan (if different than the Debtor)
                                                                                                    ------------------
                1. Name of Federal Student Loan Holder and/or Servicer:
                                             ------------------------
               Address:
                             ----------------------------------------
               Last 4 Digits of Account No.:
                                                ------
        The debtor(s) filed the Local Form Notice oflncome Driven Repayment Plan. All Federal Student loan payments shall be paid directly
        by the debtor(s) and the debtor(s) will be solely responsible for ensuring that the direct payments to the Federal Student Loan Holder(s)
        are received timely. The monthly IDR payment is set forth in the Local Form Notice oflncome Driven Repayment Plan.

        The debtor(s) expressly waive(s) any and all causes of action and claims against the Federal Student Loan Holder(s) and Servicer(s) for
        any alleged violation of the automatic stay under 11 U.S.C. § 362(a) with regard to and in consideration of the benefits of enrollment
        and participation in an IDR plan during the Chapter 13 case. Debtor(s) must file a certificate of service indicating that a copy of the plan
        was served in accordance with the provisions of Section IV of the Court's Student Loan Program Procedures.

        The debtor(s) shall file annual recertifications on or before the anniversary date of any IDR plan until such time as the Department of
        Education establishes the automatic recertification of income for IDR borrowers. If the IDR plan payment changes after recertification
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                                                                           Debtor(s):   /btJ,/ef/4 /fJ{co//i                  Case number: J,);-   JJ9[Jf/J~
             or after the debtor(s) receive(s) the Department of Education annual certification, then, no later than 14 days after receiving notice of the
             payment change, the debtor(s) must file the Local Form Notice of IDR Payment Change noting the change in the monthly IDR plan
             payment.

             Any Notice required to be given to the Federal Student Loan Holder under this Section must include the name(s) of the debtor(s) and the
             bankruptcy case number and Chapter 13 designation, must identify the Federal Student Loans, and must be served in accordance with
             the provisions in Section IV of the Court's Student Loan Program Procedures.

             B.        PRIVATE-Paid in the Chapter 13 Plan        O None
                       Name of student who benefitted from the loan (if different than the Debtor)
                       1. Name of Private Student Lender:
                                                                                                     -------------------
                       Address:
                                  ------------------------------------------
                       Last 4 Digits of Account No.: _ _ _ __
                                                                                                     Payable     $.
                                                                                                               ---  - - -/month (Months                to
    VII.          EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                 ~ONE
           Secured claims filed by any creditor/lessor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                     D Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
                         terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
                        herein is intended to terminate or abrogate the debtor(s)' state law contract rights.


                        Name of Creditor                    Collateral                           Acct. No. (Last 4 Digits) Assume/Reject


                                                                                                 --------- D                                D Reject
                  1.                                                                                                           Assume
    VIII.         INCOME TAX RETURNS AND REFUNDS:
                         0   Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
                         D   The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 52l(f) 1-4 on an
                             annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                             Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                             provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                             increases by more than 3% over the previous year's income. [Miami cases]

                         D   Debtor(s) shall provide copies of yearly income tax returns to the Trustee (but not file with the Court) no later than May
                             15th during the pendency of the Chapter 13 case. In the event the debtor(s)' disposable income or tax refunds increase,
                             debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
                             allowed unsecured claims. [Broward/Palm Beach cases]
    IX.           NON-ST AND ARD PLAN PROVISIONS                 O NONE
                  D      Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
                         Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.



                  D      Mortgage Modification Mediation




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                                                                  Debtor(s):   ~ ~                                Case number:   'A-JJ 'IP,FP/,1?.
                            PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

  I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


          Ml(}):?,..                      Debtor
                                                         Date




                                                       Date
   Attorney with permission to sign on
   Debtor(s)' behalf who certifies that
    the contents of the plan have been
      reviewed and approved by the
               Debtor(s). 1

  By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
  order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
  contains no nonstandard provisions other than those set out in paragraph IX.




l This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s )' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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